                      IN TIIE UNITED STATES DISTRICT COURT
                  FOR TIIE EASTERN DISTRICT OF NORTH CAROLINA
                                SOtITHERN DMSION
                                   No. 7:23-CV-897


INRE:                                             )
                                                  )
CAMP LBJEUNE WATERLmGATION                        )                ORDER
                                                  )
TIDS DOCUMENT RELATES TO:                         )
ALLCASBS                                          )



        On December 26, 2023 1 the United States of America ("United States" or "defendant")

moved to amend Case Management Order No. 2 to (1) require every plaintiff to file a short form

complaint, (2) remove the opt-out provision for Track 2 and future track plaintiffs, (3) extend Track

1 fact discovery by 90 days, and (4) require all discovery plaintiff's to notify the United States

promptly if the plaintiff has or will undergo any expert examination. ~ [D.E. 95) 1. On January

16, 2024, the Plaintiff's' Leadership Group ("PLO'') responded in opposition [D.B. 114). On

January 30, 2024, the United States replied [D.E. 129). On February 26, 2024, this court issued

Case Management Order No. 10 [D.E. 146), granting in part and denying in part the United States'

motion. The court (1) required every plaintiff to file a short form complaint, (2) declined to strike

the opt-out provision for Track 2 and future track plaintiffs, (3) declined to extend Track 1 fact

discovery, and (4) defemd ruling on the expert issue. ~ [D.E. 146) 6-7.

        On April 17, 2024, the United States moved for reconsideration concerning the court's

decision to decline to strike the opt-out provision in Case Management Order No. 10 [D.E. 169].

On May 6, 2024, the PLO responded in opposition [D.E. 197). As explained below, court denies

the United States' motion for reconsideration.




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        The United States cites ''two pieces of new information" warranting the court's

reconsideration of the opt-out provision in Case Management Order No. 10: (1) following the

entry of that order on February 26, 2024, the PLG opted-out 703 eligible cases (i.e., about 66% of

"available cases") from Track 2, despite telling the court on January 16, 2024, that the PLG did

not anticipate further use of the opt-out provision, and (2) the PLO inconsistently uses the opt-out

provision concerning plaintiffs who are medically unable to participate in discovery or trial. [D.E.

169] 3-6.

        AB for opting-out approximately 66% of eligible Track 2 cases, the United States argues

that the pool in Track 2 is no longer "a representative sample." Isl.. at 5. Furthermore, the United

States argues that due process concerns do not warrant the opt-outs because plaintiffs voluntarily

filed lawsuits, and the court can direct mass tort litigation through its inherent powers. ~ i5L. at

5--6.

        The PLG responds that ( 1) an increase in filed short form complaints creates a larger pool,

(2) there are still 244 cases to choose from in Track 2, (3) the Track 2 discovery pool remains open

to new plaintiffs, and (4) the current pool in Track 2 provides a representative sample. ~ (D.E.

197] 2-4. In support of its fourth argument, the PLG asserts that the United States has provided

no evidence to support its position. ~ liL at 4.

        The United States replies that the parties have (1) agreed to accommodate ill plaintiffs by

agreeing not to call such a plaintiff as a trial witness and instead having such witnesses only answer

interrogatories and (2) used text-to-speech software for a deposition and interrogatories for another

plaintiff. ~ [D.E. 169] 6. Moreover, the United States argues the parties could accommodate all




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plaintiffs; therefore, the opt-out provision is not neceswy. ~ ~ Alternatively, the United States

suggests that the court could permit opt-outs upon the PLO showing good cause. ~ id,.

       "[A]ny order or other decision, however designated, that adjudicates fewer than all the

claims or the rights and liabilities of fewer than all the parties does not end the action as to any of

the claims or parties and may be revised at any time before the entry of a judgment adjudicating

all the claims and all the parties' rights and liabilities." Fed. R. Civ. P. 54(b). Before a final order

is entered, "a district court retains the power to reconsider and modify its interlocutory

judgments ... at any time prior to final judgment when such is wananted." Am. Canoe Ass 'n. Inc,

Y, Mmphy Farms, Inc,. 326 F.3d sos, 514-15 (4th Cir. 2003); i« Carlson Y, Bos. Sci. eon, .. 856

F.3d 320, 325 (4th Cir. 2017). "Motions for reconsideration of interlocutory orders arc not subject

to the strict standards applicable to motions for reconsideration of a final judgment," but are

"committed to the discretion of the district court." Am. Canoe Ag'n. 326 F.3d at 514-15. The

standard for reconsidering a non-final order is less demanding than the standard for reconsidering

a final judgment. ~ u. Carlson, 856 F.3d at 325. A court may revise an interlocutory order if

substantially new facts come to light, if the applicable law changes, or if the court determines it

made a clear error resulting in a manifest in justice. ~ .uL; Valencell. Inc, y. Ap_plc Inc,, No. S: 16-

CV-l, 2017 WL 2819768, at •1 (E.D.N.C.1une 28, 2017) (unpublished).

       The United States has not proven that the court should reconsider Case Management Order

No. 10. The court cannot determine whether the reduced Track 2 pool is representative or not. If

the pool is not, then the trials will not help the parties reach a global resolution, and the court will

have to hold more trials. The court declines to try to conttol that possible scenario. Rather, if

needed, the court can address the prospect of holding numerous trials in non-representative cases

in others ways, such as changing the PLG.


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        The United States also fails to show a plaintiff who opted-out because the parties refused

 to provide accommodations. The United States also fails to show that substantially new facts

 warrant changing Case Management Order No. 10. Finally, the court finds that it did not make a

 clear error when exercising its inherent powers in Case Management Order No. 10. ~ Fed. R.

 Civ. P. 1, 16(c)(2)(L), 42(a): Link y. Wabash R.R., 370 U.S. 626, 63~3 l (1962).

                                                n.
        In sum, the comt DENIES defendant's motion for reconsideration [D.B. 169).

        SO ORDERED. This ..!l day of July, 2024.



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 RICHARD B. MYERS Il                                       ~llr
                                                            TERRENCE W. BOYLE
 Chief United States District Judge                         United States District Jud:




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 United States District Judge                               United States District Judge




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